79 F.3d 1141
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Anthony G. HOGAN, Plaintiff--Appellant,v.PRINCE WILLIAM-MANASSAS ADULT DETENTION CENTER, Defendant--Appellee.
    No. 96-6128.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Feb. 27, 1996.Decided:  March 19, 1996.
    
      Anthony G. Hogan, Appellant Pro Se.
      Before HALL, WILKINS, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant noted this appeal outside the thirty-day appeal period established by Fed.  R.App. P. 4(a)(1), failed to obtain an extension of the appeal period within the additional thirty-day period provided by Fed.  R.App. P. 4(a)(5), and is not entitled to relief under Fed.  R.App. P. 4(a)(6).   The time periods established by Fed.  R.App. P. 4 are "mandatory and jurisdictional."  Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).   The district court entered its order on March 29, 1995;  Appellant's notice of appeal was filed on December 5, 1995.   Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this court of jurisdiction to consider this case.   We therefore dismiss the appeal.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    